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                               FOGARTY MUELLER HARRIS, PLLC
                              501 E. Kennedy Boulevard, Suite 1030
                                      Tampa, Florida 33602


BRIAN R. HARRIS
813-682-1720 (DIRECT)
brian@fmhlegal.com


                                        March 26, 2025

VIA E-Mail
Michelle Schwerin, Esq.
Neill Schwerin Boxerman, P.C.
120 S. Central Ave., Ste. 725
St. Louis, MO 63105

          Re:       TLS Management & Marketing Services, LLC

Ms. Schwerin:

       I represent TLS Management & Marketing Services, LLC. I recently became aware
that the United States filed three summons enforcement actions against former
employees of my client in the U.S. District Court for the District of Puerto Rico – United
States of America v. Ana Izquierdo, Case No. 25-mc-00011; United States of America v.
Luis Martinez-Ebra, Case No. 25-mc-00012; United States of America v. Yairanisse
Rivera-Lopez, Case No. 25-mc-00013.

       The Declarations of Revenue Agent Jean Lane, which were submitted in support
of the Petitions, state that she is pursuing a promoter investigation covering potential
promoter penalties against David Runge. Mr. Runge is a former owner of my client.

       The "Memorandum of Summons Interview" dated October 28, 2024, for the
interview of Ms. Izquierdo includes numerous questions about her work with my client.
[Izquierdo, Case 3:25-mc-00011, DE 15-1.] This is particularly troubling because Ms.
Izquierdo was formerly the general counsel for TLS Management & Marketing Services,
LLC. In that role, she provided legal advice to the company, and much of her work for
the company and her communication with its other employees, such as Mr. Runge, would
be covered by the attorney-client privilege and possibly work product immunity
depending on the circumstances.

       Ms. Lane recently notified TLS Management & Marketing Services, LLC that she
is pursuing a similar investigation against it. See Exhibit A, Letter dated February 20,
2025. Despite her questions to Ms. Izquierdo focusing heavily on TLS and encroaching
on its attorney-client privilege, the Service did not identify TLS in the summons nor
formally notify my client of it. See 26 U.S.C. § 7609(a).
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Michelle Schwerin, Esq.
March 26, 2025
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      TLS Management & Marketing Services, LLC or any other associated entity, does
not waive attorney-client privilege or any other applicable privilege or immunity with
respect to Ms. Izquierdo or any other current or former employee.

       To that end, I am enclosing an affidavit from the company attesting to its continued
assertion of the attorney-client privilege and any other applicable privileges or
immunities.

       I trust that Ms. Izquierdo, and Mr. Martinez-Ebra and Ms. Rivera-Lopez, will not
disclose any privileged information in their testimony or other response to the summons
and that you will take steps to make sure that the privilege is fully protected and not
waived in these cases.

      If you have any questions or if there is any other information that I can provide,
please do not hesitate to contact me.



                                         Sincerely,

                                         FOGARTY MUELLER HARRIS, PLLC




                                         Brian R. Harris

Enclosure
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                             Exhibit




                              A
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                             Exhibit




                              B
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AFFIDAVIT OF TLS MANAGEMENT & MARKETING SERVICES, LLC


      I, Aileen Díaz Ortiz, in my capacity as Company Manager of TLS

Management & Marketing Services, LLC and other related companies and affiliates

(collectively “TLS”), declare as follows:

      1.     I am over 18 years of age and make this affidavit of my own personal

knowledge.

      2.     I am the Company Manager of TLS, a company located at 268 Muñoz

Rivera, Suite 1006, Hato Rey, Puerto Rico 00918. In my role at the company, I have

knowledge of its former employees and their duties.

      3.     The company recently learned that three of its former employees – Ana

Izquierdo Henn, Luis Martínez-Ebra and Yairanisse Rivera-Lopez - are the subject

of summons enforcement cases in the U.S. District Court for the District of Puerto

Rico where the United States seeks to compel them to testify about their work at

TLS, including matters that may be privileged.

      4.     Ana Izquierdo Henn was formerly employed at TLS from April 24,

2017 to February 19, 2021.

      5.     During her employment with TLS, Ana Izquierdo Henn served as a Tax

Consultant, from April 24, 2017 to July 31, 2017; as General Counsel-Tax

Consultant, from August 1, 2017 to December 31, 2019, and as General Counsel-

Director of PR Business Development, from January 1, 2020 to February 19, 2021.

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      6.     In her capacity as a Tax Consultant, General Counsel-Tax Consultant

and General Counsel-Director of PR Business Development, Ms. Izquierdo was a

member of TLS legal department, and as such she worked on a variety of legal

matters, provided legal advice to the company, and engaged in privileged

conversations and other communications.

      6.     TLS does not waive any attorney-client privilege or any other privilege

or immunity with respect to Mr. Izquierdo's summonsed testimony. This includes

her work at the company and any privileged communications that she may have had

with employees, agents, contractors or others.

      7.     To the extent that Luis Martínez-Ebra and Yairanisse Rivera-Lopez

possess attorney-client privileged information, the company likewise does not waive

that privilege or any other applicable privilege or immunity with respect to their

summonsed testimony.

      I declare under penalty of perjury of the law of the United States that the

foregoing is true and correct. On this 26th day of March, 2025.

                                TLS



                                By:
                                Name: Aileen Díaz
                                Title: Company Manager




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